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UNITED STATES DISTRICT COURT

DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA
v. : Criminal Case No. 13-253 (RWR)
Rodney Class :
PROFFER OF EVIDENCE

If this case were to go to trial, the government’s evidence would establish beyond a
reasonable doubt:
1. On May 30, 2013, at approximately 11:30AM, Rodney Class parked his Jeep Wrangler in
the 200 block of Maryland Avenue, SW, Washington, D.C., which is part of the Capitol Grounds,
An agent of the United States Capitol Police observed that the vehicle lacked authorization to park
in that area, and upon further inspection noticed that there appeared to be a large blade attached to
the inside roller bar of the vehicle, and what appeared to the agent at the time to be a gun holster in
the driver’s side door,
2. Mr. Class returned to the vehicle at approximately 1:21PM. At that time he admitted to
having weapons in the vehicle. The agent obtained a search warrant, which was executed after
6PM. Located inside the vehicle was a large blade attached to the roller bar. What had appeared
to be a gun holster in the driver’s side door was a knife with a sheath.
3, Located on the passenger seat was an unlocked grey bag containing a 9mm Ruger firearm,
loaded with one round in the chamber for a total of 8 rounds. Several loaded magazines were
located with 35 additional rounds. A box of 9mm ammunition was also located with 50 rounds,
or 93 rounds total.
4. Located in the passenger area was an unlocked large bag containing a .44 Taurus firearm,

loaded with one round in the chamber, for a total of 7 rounds. An additional 90 rounds of .44
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caliber ammunition was also recovered in the bag.

5. Located between the passenger area and the rear of the vehicle was an unlocked bag
containing a .44 Henry firearm, loaded with one round in the chamber, for a total of 11 rounds.
An additional 55 rounds of .44 caliber ammunition was recovered in the bag.

6. The Court set a trial date of October 27, 2014. Mr. Class was aware of the trial date but
willfully chose not to come to Court.

Limited Nature of Proffer

This proffer of evidence is not intended to constitute a complete statement of all facts
known by Mr. Class but is a minimum statement of facts intended to provide the necessary factual
predicate for the guilty plea. The limited purpose of this proffer is to demonstrate that there exists

a sufficient legal basis for defendant’s plea of guilty to the charged offense.

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Jeff Pear, A.J. Kramer

Assistan ed States Attorney Stand By Attorney for Defendant

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